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mi Almuttan isa gentle giant. Ui is an absolute j joy to watch him work with our ir preschoolers, .
to. imagine | him at 6'5,” 220 Ibs., sitting on the floor reading and being animated
n rail to > hear: ‘what voice hei is Sgoing lo use for the. next character while they are

 

 

 

 
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ye name is 5 Steven  wiltenberge: lam the founding ownie: ren. Electronics...
_ Electronics is an amusement'tompany based. InsSt. Louis, Miss url
of Rami Almiuttan,. a “Torch Electronics’ client. :

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. My family has known Rami Almuttan ior over 2: yeats ‘He wv ’ Flectranics fs
., clients. | know Rami to be a man of his-word. ‘He ‘always’ does what! he says he is gding.t6%
Ramis isn " sista aman that follows through | on his, intentions He-is~ an: ;

"Please let me know if you. Hav any
and consideration: .

 

ven Miltenberger * :
Torch: Electronics *

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